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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


  In re: Oral Phenylephrine Marketing and
  Sales Practices Litigation                             Case No. 1:23-md-03089-BMC

  This document relates to:                              Hon. Brian M. Cogan

  All actions.


     [PROPOSED] ORDER GOVERNING PLAINTIFFS’ INITIAL STREAMLINED
    CONSOLIDATED COMPLAINT AND DEFENDANTS’ MOTION TO DISMISS IN
                             RESPONSE

        1.       By May 3, 2024, Interim Class Counsel will file an Initial Streamlined Consolidated

 Complaint under New York law alleging representative examples of the conduct and claims they

 allege to be at issue in this Multidistrict Litigation relating, among other things, to the marketing

 and labeling of oral phenylephrine products.

        2.       By June 3, 2024, all named and served Defendants will file a single joint motion to

 dismiss raising arguments solely on preemption and/or primary jurisdiction. Plaintiffs’ response

 will be due July 15, 2024, and Defendants’ reply will be due August 5, 2024. For purposes of this

 motion only, the parties are excused from complying with the Court's requirement to request a pre-

 motion conference.

        3.       Regardless of when Plaintiffs file their Full Master Consolidated Complaint,

 Defendants shall not be obligated to answer or otherwise respond to the Full Master Consolidated

 Complaint until 45 days after the Court rules on Defendants’ motion to dismiss the Initial

 Streamlined Consolidated Complaint. For the avoidance of doubt, Defendants shall not be

 obligated to raise any arguments for dismissal of either the Initial Streamlined Complaint or a Full

 Master Consolidated Complaint with respect to any issues other than preemption and/or primary


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 jurisdiction until their deadline to answer or otherwise respond to the Full Master Consolidated

 Complaint, a deadline that shall be set by the Court.

        4.      The Parties agree that to the extent the Court grants or denies Defendants’ motion

 to dismiss based on preemption and/or primary jurisdiction, the order will apply to all cases in this

 Multidistrict Litigation or otherwise subject to transfer into this Multidistrict Litigation.

 Parties’ Reservation of Rights

        5.      Plaintiffs. In filing the Initial Streamlined Complaint, Plaintiffs will not be

 prejudiced by failure to (1) allege every single instance of the conduct they allege to be wrongful

 relating to the marketing and labeling of oral phenylephrine cold medicines, (2) identify all

 products at issue, (3) file on behalf of every named plaintiff in this litigation, or (4) refer to the

 laws of any state other than New York. Plaintiffs hereby commit to filing sufficient representative

 examples of the conduct and claims that they allege to be wrongful that a motion to dismiss based

 on preemption and/or primary jurisdiction will, if such arguments prevail, resolve this litigation in

 its entirety, regardless of additional specific examples of wrongful conduct, additional products

 named, additional Plaintiff-related allegations, or additional state-law claims that are pled or could

 be pled in a future Full Master Consolidated Complaint.

        6.      Defendants. In moving to dismiss the Initial Streamlined Complaint based only

 on preemption and/or primary jurisdiction, Defendants will not be prejudiced by failure to raise

 additional arguments for dismissal under Federal Rule of Procedure 12 unrelated to preemption

 and/or primary jurisdiction if, in the event the Court denies the motion to dismiss based on

 preemption and/or primary jurisdiction, a subsequent Full Master Consolidated Complaint is filed.

 Plaintiffs agree that, in the event the Court denies the motion to dismiss based on preemption

 and/or primary jurisdiction, Defendants shall be permitted to move to dismiss any subsequent Full


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 Master Consolidated Complaint based on any ground under Federal Rule of Civil Procedure 12(b)

 other than those issues that shall have already been briefed and addressed by the Court in ruling

 on the motion to dismiss the Initial Streamlined Complaint. Nothing about this stipulation, or the

 filing of any motion to dismiss the Initial Streamlined Complaint, waives any Defendants’ personal

 jurisdiction defense.



                                                     SO ORDERED.



 Dated: ____________________                         __________________________________
                                                     THE HONORABLE BRIAN M. COGAN
                                                     UNITED STATES DISTRICT JUDGE




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